USCA11 Case: 23-11236    Document: 36-1     Date Filed: 08/20/2024   Page: 1 of 9




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11236
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       KEENAN HUNTER,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                      for the Middle District of Florida
                  D.C. Docket No. 3:21-cr-00043-BJD-PDB-1
                          ____________________
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       2                     Opinion of the Court                23-11236


       Before JILL PRYOR, NEWSOM, and TJOFLAT, Circuit Judges.
       PER CURIAM:
              Keenan Hunter appeals his 27-month sentence for escape
       from custody. Hunter argues that the District Court’s sentence
       was procedurally unreasonable because it was based on a clearly
       erroneous fact. Hunter also contends that his sentence was sub-
       stantively unreasonable because the District Court improperly
       weighed Hunter’s mitigating factors. Having found no error in the
       District Court’s sentencing, we affirm.
                               I.    Background
              In May 2021, a grand jury charged Hunter with escape from
       custody under 18 U.S.C. §§ 751 and 4082. Hunter had left a halfway
       house where he was serving a sentence for being a felon in posses-
       sion of a ﬁrearm. Hunter pleaded guilty to the escape charge and
       the District Court sentenced him to 27 months’ imprisonment.
       Hunter’s presentence investigation report summarized the oﬀense
       conduct.
              In June 2017, Hunter was sentenced for being a felon in pos-
       session of a ﬁrearm. And to complete that sentence, the Bureau of
       Prisons placed him in a halfway house. At the halfway house, he
       signed documents stating that a failure to reside there could result
       in an escape charge. But just a few months later, after halfway
       house staﬀ asked Hunter for a urine sample, Hunter left and never
       returned.
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       23-11236              Opinion of the Court                        3

              State police later found and arrested Hunter on charges of
       ﬂeeing or attempting to elude an oﬃcer, resisting an oﬃcer with-
       out violence, and leaving the scene of an accident involving at-
       tended property. He was also charged with possession with the in-
       tent to sell, manufacture, or deliver cannabis; possession of more
       than twenty grams of cannabis; and possession of controlled sub-
       stance paraphernalia.
              For the instant oﬀense, the presentence investigation report
       assigned Hunter a criminal history score of VI and an oﬀense level
       of eleven. The Guidelines suggested a sentence of 27 to 33 months.
       Before sentencing, Hunter objected to the PSI’s inclusion of un-
       charged, dropped, dismissed, and acquitted counts. Speciﬁcally, he
       objected to paragraph 62, which related to his attempt to elude law
       enforcement in Jacksonville after he escaped from custody. But the
       probation oﬃce cited U.S.S.G. § 1B1.4, contending it allowed the
       court to consider “without limitation, any information concerning
       the background, character and conduct of the defendant, unless
       otherwise prohibited by law.”
             In a sentencing memorandum, Hunter asked for 18 months’
       imprisonment followed by 3 years of supervised release. He ar-
       gued that the § 3553(a) factors supported this sentence based on his
       rough upbringing and history of drug abuse. He stated that his
       family and friends describe him as “a kind, gentle, and family-ori-
       ented person” and that he helped raise his 10-year-old daughter.
       His daughter’s mother described him as a great father. Multiple
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       4                     Opinion of the Court                23-11236

       family and friends also submitted letters describing him as a posi-
       tive inﬂuence and a loving person.
              At sentencing, the court found the letters “moving.” Hunter
       maintained his objections to the PSI, while the Government sup-
       ported the probation oﬃce’s response. The court found that the
       objected-to facts in the PSI were properly before it but stated that
       any lack of unequivocal responsibility taken by Hunter would be
       considered. Consequently, the court overruled the objection and
       adopted the PSI’s calculations.
               The court then expressed frustration with Hunter’s criminal
       history and repeated poor decision-making. It hoped that Hunter
       would “do better” but noted that he had given it little reason to
       believe him. The court then stated: “[Y]our decisions up in, you
       know, this Tallahassee incident, you know, you’re on supervised re-
       lease, maybe probation, and an escapee, and you’re riding around
       with marijuana in your car. Just doesn’t make sense.” It also stated
       that it acknowledged the letters from Hunter’s family and friends
       but it still had concern that Hunter had not adequately addressed
       his substance abuse issues.
              The court continued that, despite Hunter’s poor decisions,
       it was “somewhat conﬁdent” that this would be Hunter’s last of-
       fense. It highlighted Hunter’s previous ability to ﬁnd legitimate
       work with help from his family and friends. The court expressed
       the need for deterrence but stated that the sentence was “not going
       to be as harsh” as it might otherwise have been because it believed
       Hunter was “at a juncture in [his] life” and would make a change.
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       23-11236                Opinion of the Court                          5

              Ultimately, the District Court sentenced Hunter to twenty-
       seven months’ imprisonment—the lowest sentence under the
       Guidelines—followed by three years of supervised release. The
       court elaborated: “I think that’s it, and I’ll make sure it’s the within
       the guidelines, it’s the lowest that the [c]ourt could impose.” The
       court explained that, in reaching its decision, it had considered the
       parties’ statements, Hunter’s family’s testimony, the PSI, and 18
       U.S.C. §§ 3551 and 3553. The court asked whether the parties had
       any objections, other than those previously stated, to the sentence
       or how it was pronounced. The parties did not.
              After entry of the ﬁnal judgment, Hunter timely appealed.
                                 II.    Discussion
               Hunter challenges the reasonableness of his 27-month sen-
       tence. We typically review the procedural and substantive reason-
       ableness of a sentence for an abuse of discretion. United States v.
       Vandergrift, 754 F.3d 1303, 1307 (11th Cir. 2014). But because
       Hunter failed to object at the time of sentencing, we must review
       for plain error. See id. Accordingly, to prevail, Hunter must show
       that (1) an error occurred, (2) the error was plain, and (3) the error
       affected his substantial rights. See id. If those conditions are met,
       we decide whether the error seriously affected the fairness, integ-
       rity, or public reputation of judicial proceedings. See id.               In reviewing the reasonableness of a sentence, we conduct a
       two-step inquiry, first ensuring that there was no significant proce-
       dural error, and then examining whether the sentence was substan-
       tively reasonable. United States v. Sarras, 575 F.3d 1191, 1219 (11th
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       6                        Opinion of the Court                    23-11236

       Cir. 2009). The district court commits a significant procedural er-
       ror if it calculates the guidelines incorrectly, ignores the § 3553(a)
       factors, bases the sentence on clearly erroneous facts, neglects to
       explain the sentence, or treats the guidelines as mandatory. United
       States v. Hill, 643 F.3d 807, 879 (11th Cir. 2011). A factual finding is
       clearly erroneous if, “although there is evidence to support it, the
       reviewing court on the entire evidence is left with a definite and
       firm conviction that a mistake has been committed.” Anderson v.
       City of Bessemer City, 470 U.S. 564, 573 (1985) (quotation marks
       omitted).
               Generally, the district court’s explanation of its sentence
       must articulate enough to satisfy us that it “considered the parties’
       arguments and has a reasoned basis for exercising [its] own legal
       decisionmaking authority.” Rita v. United States, 551 U.S. 338, 356
       (2007). So the brevity or length of a district court’s reasons for im-
       posing a particular sentence depends on the circumstances. Id.       Further, “A sentencing court may consider any information . . . re-
       gardless of its admissibility at trial” if it has “sufficient indicia of re-
       liability” and the defendant has “an opportunity to rebut the evi-
       dence.” United States v. Ghertler, 605 F.3d 1256, 1269 (11th Cir.
       2010).
              Hunter’s sentence was procedurally reasonable because the
       court’s explanation was adequate for meaningful appellate review,
       and it did not commit any guideline error. Nor did the District
       Court err by considering Hunter’s uncharged criminal conduct, as
       a sentencing court can rely on any reliable information in
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       23-11236               Opinion of the Court                         7

       considering a defendant’s background and character. The District
       Court also did not plainly err when it said, “[Y]our decisions up in,
       you know, this Tallahassee incident, you know, you’re on super-
       vised release, maybe probation, and an escapee, and you’re riding
       around with marijuana in your car. Just doesn’t make sense.” Alt-
       hough it does not seem that Hunter was “riding around with ma-
       rijuana in [his] car,” the gist of the court’s statement is the same—
       Hunter fled the scene of an accident, and police located a large
       quantity of marijuana in his backpack. Thus, even if the court con-
       fused certain details, this error likely did not affect Hunter’s sub-
       stantial rights. So Hunter cannot establish that the court plainly
       erred.
              There is also not any indication that the court treated the
       Guidelines as mandatory when sentencing Hunter. Hunter bases
       his argument on the court’s statement, “I think that’s it, and I’ll
       make sure it’s the—within the guidelines, it’s the lowest that the
       [c]ourt could impose.” This statement does not indicate that the
       court believed it could not vary outside the Guidelines if it chose
       to do so. Rather, it reflects the court’s desire for the sentence to
       “not . . . be as harsh” as it might otherwise have been. Thus, his
       sentence was procedurally reasonable.
              As for whether Keenan’s sentence is substantively reasona-
       ble, we consider the totality of the facts and circumstances. See
       United States v. Irey, 612 F.3d 1160, 1189 (11th Cir. 2010) (en banc).
       The district court must impose a sentence “sufficient, but not
       greater than necessary, to comply with the purposes” listed in
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       8                      Opinion of the Court                 23-11236

       § 3553(a)(2). This includes the need to reflect the seriousness of the
       offense, promote respect for the law, provide just punishment for
       the offense, deter criminal conduct, and protect the public from the
       defendant’s future criminal conduct. See 18 U.S.C. § 3553(a)(2).
       The weight given to any specific § 3553(a) factor is committed to
       the sound discretion of the district court. United States v. Clay, 483
       F.3d 739, 743 (11th Cir. 2007).
              “A district court can abuse its discretion when it (1) fails to
       afford consideration to relevant factors that were due significant
       weight, (2) gives significant weight to an improper or irrelevant fac-
       tor, or (3) commits a clear error of judgment in considering the
       proper factors.” Irey, 612 F.3d at 1189. That said, we will vacate a
       sentence only if we “are left with the definite and firm conviction
       that the district court committed a clear error of judgment in
       weighing the § 3553(a) factors by arriving at a sentence that lies
       outside the range of reasonable sentences dictated by the facts of
       the case.” Id. at 1190 (quotation marks omitted). A sentence im-
       posed well below the statutory maximum penalty is an indicator of
       reasonableness. See United States v. Gonzalez, 550 F.3d 1319, 1324
       (11th Cir. 2008).
              The District Court did not abuse its discretion in finding that
       the § 3553(a) factors justify Hunter’s within-guideline sentence.
       Hunter fails to show that his twenty-seven-month sentence is sub-
       stantively unreasonable, considering the record and the § 3553(a)
       factors. Further, the court’s sentence was well below the statutory
       maximum of 5 years’ imprisonment. And, as noted above, the
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       23-11236               Opinion of the Court                          9

       court explicitly stated that it considered all the § 3553(a) factors in
       sentencing Hunter. Thus, the District Court weighed the § 3553(a)
       factors and was well within its discretion to find that the factors, as
       a whole, warranted the 27-month sentence.
               In sum, the District Court provided sufficient justifications
       to support Hunter’s sentence. Thus, Hunter’s sentence is substan-
       tively reasonable, and we affirm.
              AFFIRMED.
